801 F.2d 395Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Keith Milo TAYLOR, Plaintiff-Appellant,v.James MARTIN, Defendant-Appellee.
    No. 86-6614.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 23, 1986.Decided Sept. 25, 1986.
    
      Keith Milo Taylor, appellant pro se.
      Jacob L. Safron, Office of the Attorney General, for appellee.
      E.D.N.C.
      AFFIRMED.
      Before RUSSELL and WIDENER, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion adopting the magistrate's recommendation discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Taylor v. Martin, C/A No. 85-1501-CRT (E.D.N.C., May 8, 1986).
    
    
      2
      AFFIRMED.
    
    